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                                                                                          FILED
                                                                                        May 13, 2025
                                                                                   CLERK, U.S. DISTRICT COURT
                                                                                   WESTERN DISTRICT OF TEXAS
                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS                                       klw
                                                                                BY: ________________________________
                                   AUSTIN DIVISION                                                      DEPUTY




LEO RIOT, INDIVIDUALLY AND AS
TRUSTEE AND TRUST ADMINISTRATOR,
ON BEHALF OF QUASAR SPENDTHRIFT
TRUST, AND DAY TRADERS LLC

               Plaintiffs, Counterclaim
               Defendants,                                Civil Action No. 1:24-CV-1557-ADA

       v.

APEX TRADER FUNDING INC., ET AL.,

               Defendants, Counterclaim Plaintiff,

       v.

MKNET, LLC


               Third-Party Defendant.


                   ORDER GRANTING AGREED AND JOINT MOTION
                         FOR ENTRY OF CASE SCHEDULE

       Before the Court is an Agreed and Joint Motion for Entry of Case Schedule. After

considering the motion, the Court concludes that the motion should be, and it is hereby,

GRANTED. Accordingly, the Court ORDERS that the following case schedule will govern

deadlines up to and including the trial of this matter.

  Deadline                       Item

  May 6, 2025                    Fact Discovery opens; deadline to serve Initial Disclosures per
                                 Rule 26(a).
  June 17, 2025                  Deadline to add parties.

  June 17, 2025                  Deadline to amend pleadings. A motion is not required unless
                                 the amendment adds claims. (Note: This includes amendments
                                 in response to a 12(c) motion.)
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Deadline                       Item

August 1, 2025                 Close of Fact Discovery.

August 13, 2025                Opening Expert Reports.

September 3, 2025              Rebuttal Expert Reports.

September 17, 2025             Close of Expert Discovery.

October 8, 2025                Dispositive motion deadline and Daubert motion deadline.

                               Deadline for parties desiring to consent to trial before the
                               magistrate judge to submit Form AO 85, “Notice, Consent,
                               And Reference Of A Civil Action To A Magistrate Judge,”
                               available at https://www.uscourts.gov/forms/civil-
                               forms/notice-consent-and-reference-civil-action-magistrate-
                               judge.

Dec. 2, 2025                   Serve Pretrial Disclosures (jury instructions, exhibits lists,
                               witness lists, deposition designations).
Dec. 16, 2025                  Serve objections to pretrial disclosures/rebuttal disclosures.

Dec. 29, 2025                  Parties to jointly email the Court’s law clerk to confirm their
                               pretrial conference and trial dates.
8 weeks before trial
Jan. 5, 2026                   Serve objections to rebuttal disclosures; file motions in limine.

Jan. 12, 2026                  File Joint Pretrial Order and Pretrial Submissions (jury
                               instructions, exhibits lists, witness lists, deposition
                               designations); file oppositions to motions in limine.

Jan. 16, 2026                  File Notice of Request for Daily Transcript or Real Time
                               Reporting. If a daily transcript or real time reporting of court
                               proceedings is requested for trial, the party or parties making
                               said request shall file a notice with the Court and email the
                               Court Reporter, Kristie Davis at kmdaviscsr@yahoo.com


                               Deadline to file replies to motions in limine.
Jan. 21, 2026                  Deadline to meet and confer regarding remaining objections
                               and disputes on motions in limine.

Jan 27, 2026                   File joint notice identifying remaining objections to pretrial
                               disclosures and disputes on motions in limine.
3 business days before Final
Pretrial Conference.

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      ORDER GRANTING AGREED AND JOINT MOTION FOR ENTRY OF CASE SCHEDULE
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  Deadline                Item

  Feb. 6, 2026            Final Pretrial Conference. Held in person unless otherwise
  at 1:30 PM              requested.

  Feb. 23, 2026           Jury Selection/Trial at 9:00 AM




SIGNED on May 13, 2025.




                                                  ALAN D. ALBRIGHT
                                                  UNITED STATES DISTRICT JUDGE




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        ORDER GRANTING AGREED AND JOINT MOTION FOR ENTRY OF CASE SCHEDULE
